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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

   ERIC & CO TRADING GROUP LLC,                                   CASE NO.: 23-CV-20045-RKA

          Judgment Creditor,

   v.

   FLOYD MAYWEATHER, JR.,

          Judgment Debtor.

   and

   SKAR AUDIO, INC.,

         Garnishee.
   ___________________________________/

                                      WRIT OF GARNISHMENT

   THE STATE OF FLORIDA:

   To Each Sheriff of the State:

          YOU ARE COMMANDED to summon the garnishee, SKAR AUDIO, INC., c/o Kevin

   Schlenker, Registered Agent, 9700 18th Street North, St. Petersburg, Florida 33716, to serve

   an answer to this writ on Judgment Creditor’s attorney, whose address is Zachary P. Hyman, Esq.,

   Millennial Law, 501 E. Las Olas Blvd, Suite 200/314, Fort Lauderdale, Florida 33301 within 20

   days after service on the garnishee, exclusive of the day of service, and to file the original with the

   clerk of this court either before service on the attorney or immediately thereafter, stating whether

   the garnishee is indebted to Judgment Debtor, ERIC & CO TRADING GROUP LLC, at the time

   of the answer or was indebted at the time of service of the writ, or at any time between such times,

   and in what sum and what tangible and intangible personal property of the Judgment Debtor the

   Garnishee is in possession or control of at the time of the answer or had at the time of service of
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   this writ, or at any time between such times, and whether the garnishee knows of any other person

   indebted to the defendant or who may be in possession or control of any of the property of the

   Judgment Debtor. The amount set in plaintiff’s motion is the sum of $1,168,650.00, plus

   prejudgment interest of $111,551.32 and post-judgment interest, attorneys’ fees and costs in the

   amount of $8,576 remains due and unpaid on the Judgment.


          DATED:


                                               ANGELA E. NOBLE
                                               CLERK OF COURT


                                               By: _________________________________
                                                  As Deputy Clerk


   Copies furnished to:
   Zachary P Hyman, Esq.
   zach@millenniallaw.com
   jessica@millenniallaw.com
   assistant@millenniallaw.com
   millenniallawforms@gmail.com

   Jared Lopez, Esq.
   Zaharah R. Markoe, Esq.
   Tazio Heller, Esq.
   jlopez@royblack.com
   zmarkoe@royblack.com
   theller@royblack.com
   civilpleadings@royblack.com
